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MEMORANDUM
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To: The Honorable Douglas P. Woodlock
U.S. District Judge

From: Tracy J. Weisberg

U.S. Probation Officer Assistant
Re: Low Intensity Case Transfer
Date: March 21, 2013

The basic philosophy behind the Supervision of Federal Offenders Monograph 109 is that offenders need
to be seen purposefully. Officers assess the risks, needs, and strengths of each offender to determine the appropriate
level of supervision. When the assessment indicates that, under the current circumstances, the offender is likely to
remain crime free and to comply with all other conditions without further interventions by the officer, the case
should be supervised under the low intensity standards.

With this in mind, a category of supervision has been devised that will enable officers to relieve themselves
of the duty to make regular personal contact with certain clients who meet the criteria laid out in the Monograph
109. Low intensity supervision means never supervising offenders more intrusively than required by their assess
risks and needs at any given time.

We have reviewed our caseloads and note that the following client, after a careful assessment, sentenced by
Your Honor meets the criteria and will be placed in the Low Intensity Caseload:

Name Docket No.
Andrea Goode-James 09-10170
We shall continue to monitor monthly report forms, requests for travel, fines and restitution, and any new
criminal activity. The offenders have been informed they continue to be responsible with all conditions set by the
Court.
/s/ Tracy J. Weisberg

Tracy J. Weisberg
U.S. Probation Officer Assistant

Reviewed & Approved:

/s/ Brian McDonald
Brian McDonald
Supervising U.S. Probation Officer

